                   Case 1:05-cr-00060-NGG Document 1306 Filed 07/21/11 Page 1 of 5 PageID #: 11578
~~~:t,.AQ   2458    (Rev. 6/30/2011- NYED) Judgment in a Criminal Case
                    Sheet 1



                                              UNITED STATES DISTRICT COURT
                             EASTERN                                      District of                                NEW YORK
               UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                   v.
                                                                                Case Number:                       CR 05-060 (S-12)
                      VINCENT BASCIANO                                          USMNumber:
                                                                                George R. Goltzer, Esq. I Richard Jasper, Esq.Ning Stafford,
                                                                                Es .
                                                                                Defendant's Attorney
THE DEFENDANT:
X            on May 16,2011 was convicted by jury verdict on Counts One (1), Two (2), and Three (3) of the Superseding
INDICTMENT {S-12).
D pleaded nolo contendere to count(s)
    which was accepted by the court.                                            FILED
                                                                             IN CLERK'S OFFICE
D was found guilty on count(s)                                           US DISTRICTCOURTE.D.N.Y.
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
                                                                         * JUL 2 I 2011 *
                                                                         BROOKLYN OFFICE
Title & Section                         Nature of Offense                                                          Offense Ended                  Count
18 U.S.C. §1959(a)(5)                   CONSPIRACY TO COMMIT MURDER IN AID OF                                                                     I (S-12)
                                        RACKETEERJNG
18 U.S.C. §1959(a)(l)                   MURDER IN AID OF RACKETEERING                                                                             2 (S-12)

18 U.S.C.§924(c)(I)(A)        UNLAWFUL USE OF A FIREARM                                                                                           3 (S-12)
(iii)
       The defendant is sentenced as provided in pages 2 through                ---"5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
X Any underlying Indictment is dismissed on the motion ..::O::.f.::th:::e...:U::..:n.::it:::e.::d...:S::..:ta:::t:::e::..:s._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
0 The defendant was not named in Counts of the Indictment.
D Count(s)                                        D is       0 are dismissed on the motion of the United States.

         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notifY the court and United States attorney of material changes in economic circumstances.

                                                                                Jul 20 2011
                                                                                DateA~fimposition   of Judgment

                                                                                 s/Nicholas G. Garaufis
                                                                                Sig+ture of Judge




                                                                                NICHOLAS G. GARAUFIS U.S.D.J.
                                                                                Name and Title of Judge


                                                                                Jul 21 2011
                                                                                Date
              Case 1:05-cr-00060-NGG Document 1306 Filed 07/21/11 Page 2 of 5 PageID #: 11579
AO 245B       (Rev. 6/30/2011-NYED) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                      Judgment- Page _£2_ of   5
DEFENDANT:                      VINCENT BASCIANO
CASE NUMBER:                    CR 05-060 (S-12)


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:      ONE HUNDRED AND TWENTY (120) MONTHS (CAG) ON COUNT ONE (1) OF THE
SUPERSEDING INDICTMENT (S-12) TO RUN CONCURRENTLY WITH HIS UNDISCHARGED TERM OF
LIFE IMPRISONMENT. LIFE IMPRISONMENT ON COUNT TWO (2) OF THE SUPERSEDING INDICTMENT
(S-12) TO RUN CONSECUTIVELY TO HIS UNDISCHARGED TERM OF LIFE IMPRISONMENT. ONE
iiUNi>RED AND TWENTY (120) MONTHS (CAG) ON COUNT THREE OF THE SUPERSEDING INDICTMENT
(S-12) WHICH SHALL RUN CONSECUTIVELY TO HIS UNDISCHARGED TERMS OF IMPRISONMENT.




D         The court makes the following recommendations to the Bureau of Prisons:




X         The defendant is remanded to the custody of the United States Marshal.

     DThe defendant shall surrender to the United States Marshal for this district:

          D     at    - - - - - - - - - D a.m.                   D p.m.      on

          D     as notified by the United States Marshal.

D         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on

          D     as notified by the United States Marshal.

          D     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

at   - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                            By   ----~~~~~~~~~~----­
                                                                                      DEPUTY UNITED STATES MARSHAL
             Case 1:05-cr-00060-NGG Document 1306 Filed 07/21/11 Page 3 of 5 PageID #: 11580
AO 245B      (Rev. 6/30/2011-NYED) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                          Judgment   Page - " " - - of
DEFENDANT:                   VINCENT BASCIANO
CASE NUMBER:                 CR 05-060 (S-12)
                                                          SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a            term of:

NOTE: THE COURT IMPOSES NO TERM OF SUPERVISED RELEASE.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detennined by the court.
D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
D        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

D        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as directed by the probatiOn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Clieck, if applicable.)


D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
          the defendant shall notify the probation officer at least ten days prior to any change in residence or employment, or if such prior
  6)      notification is not possible, then within forty-eight hours after such change;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted pennission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or £ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
          Case 1:05-cr-00060-NGG Document 1306 Filed 07/21/11 Page 4 of 5 PageID #: 11581
AO 2458   (Rev. 6/30/20ll·NYED) Judgment in a Criminal Case
          Sheet S - Criminal Monetary Penalties
                                                                                                                Judgment   Page     4      of
DEFENDANT:                       VINCENT BASCIANO
CASE NUMBER:                     CR 05-060 (S-12 )
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                                  Fine                                  Restitution
TOTALS           $ 300.00                                                    $ N/A                                 $ 21,000.00



 D   The determination of restitution is deferred until _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.
X    An order of restitution in the amount of $21,000.00 subject to an Affidavit of Loss being filed.
D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S. C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss*                                 Restitution Ordered                      Priority or Percentage
The Pizzolo family                                                                     $21,000.00




TOTALS                            $                                   0            '     $21 000.00


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      0   the interest requirement is waived for the          D       fine     D       restitution.

      D   the interest requirement for the      D     fine        D       restitution is modified as follows:



*Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
          Case 1:05-cr-00060-NGG Document 1306 Filed 07/21/11 Page 5 of 5 PageID #: 11582
AO 2458   (Rev. 6/30/2011-NYED) Judgment in a Criminal Case
          Sheet 6 - Schedule of Payments

                                                                                                        Judgment- Page       5     of         5
DEFENDANT:                VINCENT BASCIANO
CASE NUMBER:              CR 05-060 (S-12)

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties are due as follows:

A    X    special assessment of$        300.00                due immediately, balance due

          D     not later than --=--::::---:::--:::---=- , or
          D     in accordance      D C, D D, D E, or                       D F below; or
B    D    Payment to begin immediately (may be combined with            oc,         D D, or      D F below); or
C    D Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    D Restitution Schedule:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
